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                        EXHIBIT B
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12   (Additional counsel listed on signature page)
13                                 UNITED STATES DISTRICT COURT
14                                NORTHERN DISTRICT OF CALIFORNIA
15                                          SAN FRANCISCO
16
     PANGEA LEGAL SERVICES; DOLORES                               3:20-cv-07721
                                                         Case No. _______________
17   STREET COMMUNITY SERVICES, INC.;
     CATHOLIC LEGAL IMMIGRATION NET-
18   WORK, INC.; and CAPITAL AREA IMMI-
     GRANTS’ RIGHTS COALITION,
19
                    Plaintiffs,                          DECLARATION OF KATHERINE
20                                                       MAHONEY
            v.
21
     U.S. DEPARTMENT OF HOMELAND
22   SECURITY; CHAD F. WOLF, under the title of
     Acting Secretary of the Department of
23   Homeland Security;
     KENNETH T. CUCCINELLI, under the title of
24
     Senior Official Performing the Duties of the
25   Deputy Secretary for the Department of
     Homeland Security;
26   U.S. CITIZENSHIP AND IMMIGRATION
     SERVICES;
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 1   U.S. IMMIGRATION AND CUSTOMS
     ENFORCEMENT;
 2
     TONY H. PHAM, under the title of Senior
 3   Official Performing the Duties of the Director of
     U.S. Immigration and Customs Enforcement;
 4   U.S. CUSTOMS AND BORDER PROTECTION;
 5   MARK A. MORGAN, under the title of Senior
     Official Performing the Duties of the
 6   Commissioner of U.S. Customs and Border
     Protection;
 7   U.S. DEPARTMENT OF JUSTICE;
     WILLIAM P. BARR, under the title of U.S.
 8
     Attorney General;
 9   EXECUTIVE OFFICE FOR IMMIGRATION
     REVIEW; and
10   JAMES MCHENRY, under the title of Director
     of the Executive Office for Immigration Review,
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                   Defendants.
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 1          I, Katherine Mahoney, declare under penalty of perjury as prescribed in 28 U.S.C. § 1746:

 2          1.      The facts contained in this declaration are known personally to me and, if called as

 3   a witness, I could and would testify competently thereto under oath. I submit this sworn declara-

 4   tion in support of Plaintiffs’ Motion for a Temporary Restraining Order, Preliminary Injunction,

 5   and Stay.

 6          2.      Paragraph 2 of the Complaint filed in connection with the above-captioned action

 7   on November 2, 2020 (the “Complaint”) accurately describes a current client of Dolores Street

 8   Community Services, Inc. (“DSCS”). The client is referred to in the Complaint by a pseudonym,
 9   Bryan, to protect his safety and preserve confidentiality.
10          3.      I serve as the Litigation Director at DSCS, where I have worked since 2019.
11          4.      DSCS is a 501(c)(3) non-profit organization located in San Francisco, CA.
12          5.      DSCS is a multi-issue, multi-strategy organization focused on improving the lives
13   of low-income individuals in San Francisco, CA, and the surrounding Bay Area, by providing
14   services spanning four interconnected areas: (i) housing and shelter; (ii) immigrants’ rights; (iii)
15   workers’ rights; and (iv) community organizing and advocacy. DSCS provides immigration legal
16   services and direct legal representation to its clients, but also partners with local and national or-
17   ganizations to further its mission and carry out larger-scale advocacy initiatives.
18          6.      DSCS’s immigration-focused services fall into two main programs: the Deporta-

19   tion Defense & Legal Advocacy Program (“DDLAP”), which was founded in 2008, and the Im-

20   migrant Rights and Community Empowerment Program (“IRCE”), which was founded in 2018.

21          7.      IRCE was founded in 2018 and works primarily in partnership with other local

22   collaboratives—the San Francisco Immigrant Legal and Education Network (“SFILEN”), the San

23   Francisco Rapid Response Network (“SFRRN”), and the Northern California Rapid Response and

24   Immigrant Defense Network (“NCRRIDIN”) for the Bay Area region—to amplify the impact of

25   DSCS’s immigrant rights work in San Francisco and Northern California. DSCS is the lead or-

26   ganization for SFILEN and the fiscal lead for SFRRN. Through these collaboratives, DSCS works

27   with other advocacy and legal organizations to provide legal representation and advocacy to com-

28   munity members throughout Northern California.
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 1          8.      The Deportation Defense & Legal Advocacy Program was founded in response to

 2   immigration enforcement raids in San Francisco’s Mission District in 2008. Through DDLAP,

 3   DSCS provides direct legal representation to individuals facing deportation, including individuals

 4   detained by U.S. Immigration and Customs Enforcement (“ICE”) and individuals—primarily sur-

 5   vivors of labor trafficking—filing affirmative asylum applications. DDLAP also provides limited

 6   immigration-related legal services to members of the community, including free immigration con-

 7   sultations and regular clinics, assistance with time-sensitive legal filings, and filing Deferred Ac-

 8   tion for Childhood Arrivals (“DACA”) applications and renewals, as well as undertaking signifi-
 9   cant advocacy work through partnerships with local and national organizations and coalitions.
10   Like IRCE, DDLAP works with regional collaboratives, including the San Francisco Immigrant
11   Legal Defense Collaborative (“SFILDC”) and the California Collaborative for Immigrant Justice
12   (“CCIJ”) to expand pro bono representation to individuals facing removal in Northern California.
13          9.      DSCS provides full-scope direct legal services to roughly 150 clients annually, a
14   number that includes filing approximately 25 new asylum applications, including affirmative ap-
15   plications, per year. Approximately 45 percent of DSCS’s current clients have had some contact
16   with the criminal justice system.
17          10.     DSCS provides other immigration services, such as free clinics, consultations, and
18   limited-scope representation, to roughly 240 individuals annually.

19          11.     The Rule challenged in the Complaint, see Procedures for Asylum and Bars to Asy-

20   lum Eligibility, 85 Fed. Reg. 67202 (October 21, 2020) (“Rule”), would irreparably harm DSCS

21   in multiple ways absent enjoinder of the Rule. Whatever the intent of the Rule, the impact is clear:

22   by imposing new categorical bars to asylum eligibility, the Rule disproportionately impacts some

23   of DSCS’s most vulnerable clients and frustrates the DSCS mission of helping obtain protection

24   for people who meet the definition of refugee and others fleeing persecution in their home coun-

25   tries. As a result of this Rule, asylum eligibility will become even more limited and the immigrants

26   served by DSCS who are subject to these new bars will face continued instability and uncertainty,

27   and the possibility of removal to countries where they face severe harm or even death.

28          12.     The Rule would significantly limit the overall number of clients DSCS is able to
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 1   serve, placing the organization in an impossible position: it would need to raise more funds and

 2   hire more staff to serve the same number of clients, or reduce the number of clients it serves to fit

 3   within its current budget. The numerous recent changes to asylum eligibility and processing, in-

 4   cluding this Rule, further frustrate DSCS’s ability to carry out its mission, as the organization is

 5   forced to expend significant time and its limited resources on making adjustments to its internal

 6   processes to keep up-to-date with the frequency and scope of changes to the legal asylum frame-

 7   work.

 8           13.     If permitted to take effect, the Rule would dramatically increase the number of in-
 9   dividuals potentially barred from obtaining asylum. Consequently, DSCS’s staff would have to
10   expend more time and resources at both the outset of each case, and throughout the pendency of
11   each case, to determine whether any of the new asylum bars could be triggered and to assess the
12   potential impact of any prior convictions, arrests, or even mere allegations. Indeed, under the new
13   Rule, asylum seekers can be categorically barred from obtaining protection on the basis of even
14   modified, vacated, or expunged convictions.
15           14.     Moreover, the Rule would significantly increase the amount of DSCS staff time
16   and resources each asylum-seeker’s case requires, including time spent on analyzing and briefing
17   eligibility issues; time and resources spent on obtaining any records of arrests and/or convictions;
18   and resources spent on finding and preparing witnesses and experts.

19           15.     DSCS’s clients are survivors of community and domestic violence, workplace ex-

20   ploitation and human trafficking, and homelessness or housing instability—all populations typi-

21   cally subject to over-policing and over-criminalization. Under the new Rule’s categorical bars,

22   asylum seekers—and particularly clients of DSCS—will be precluded from obtaining protections

23   on the basis of a vast array of conduct. Indeed, in the case of domestic-violence related grounds,

24   the categorical bar will be imposed on the basis of mere allegations of conduct without any adju-

25   dication of guilt.

26           16.     In addition, many of DSCS’s clients suffer from severe mental illness, including

27   Post-Traumatic Stress Disorder (“PTSD”). This Rule, whose new categorical bars to asylum in-

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 1   clude any drug-related conviction (with one exception for a first minor marijuana possessory of-

 2   fense) and any second conviction for driving under the influence, would likely have a dispropor-

 3   tionate impact on these particularly vulnerable populations. Asylum seekers are an inherently

 4   vulnerable population because of the trauma they experienced in their countries of origin and,

 5   often, along the journey to find safety, and studies show that at least one out of every three asylum

 6   seekers struggles with anxiety, depression, and/or PTSD. It has also been shown that there is a

 7   high prevalence of comorbidity of PTSD and substance use disorders: individuals with PTSD are

 8   up to 14 times more likely to struggle with substance use disorder. DSCS’s clients are often unable
 9   to access affordable medical care and treatments for complex trauma and may turn to drugs and
10   alcohol in an effort to self-medicate. The approach taken by the new Rule ignores the evidence
11   around the vulnerabilities of the asylum-seeking population and would significantly frustrate the
12   mission of organizations like DSCS, whose clients are typically very low income and at-risk indi-
13   viduals.
14          17.     This Rule would also have a significant negative impact on the families DSCS
15   serves, many of whom are mothers and fathers who fled their home countries with their young
16   children. At present, if an individual is granted asylum, any of their family members already in
17   the United States whom they included on their asylum application may also be granted asylum,
18   and they can file a petition to bring remaining eligible family members not in the United States to

19   the United States. Unlike asylum, however, withholding of removal does not provide any relief

20   for an eligible individual’s family members, whether they are in the United States or in another

21   country. Moreover, although withholding of removal is available to those individuals who can

22   establish that being removed to the proposed countries would “more likely than not” result in per-

23   secution on account of race, religion, nationality, membership in a particular social group, or po-

24   litical opinion, the individual still can be removed to a third country if doing so would not threaten

25   their life or freedom.

26          18.     Thus, under the new Rule, if a mother who flees to the United States is suddenly

27   subject to one of the Rule’s expanded asylum bars, and thus forced to seek withholding of removal

28   only, she will no longer be able to ensure that her children can also obtain protection in the United
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 1   States, regardless of whether she is granted withholding of removal. Instead, if her children are

 2   still in her home country, they would have to come to the United States and seek asylum on their

 3   own, likely as unaccompanied children. If her children fled to the United States with her, they

 4   would need to establish their own eligibility for protection, regardless of their age. In some cases,

 5   a child’s reasons for fearing return may be derivative of their parent’s fear, and thus too attenuated

 6   to meet the asylum requirements independently. Because separation from one’s parents is not,

 7   standing alone, generally considered a basis for asylum, this de facto decoupling of family cases

 8   is likely to result in increased family separation, where some family members qualify for asylum
 9   and others do not, so are removed. The practical impact for organizations including DSCS is that
10   the organization will see an increase in cases where it must seek relief for every member of a
11   family as a principal, rather than being able to rely on derivative status, alongside a decrease in the
12   number of resources the organization actually has available. This decoupling of DSCS’s current
13   cases would also impact its ability to take on new clients.
14          19.     DSCS raised the above concerns and others in the comment it submitted in opposi-
15   tion to the then-proposed Rule. However, in response to those comments, the final Rule says only
16   that the categorical bars will “create a more streamlined and predictable approach that will increase
17   efficiency in immigration adjudications” and “increase predictability”, a response which ultimately
18   ignores the realities faced by immigration attorneys, like the staff at DSCS. To the contrary, some

19   of the bars are so subjective that they will inevitably be applied disparately depending on the ad-

20   judicator. This will create more unpredictability for clients and result in tireless litigation over the

21   legal questions raised by these new bars.

22          20.     Likewise, in response to comments from DSCS and other organizations alleging

23   that the proposed Rule violated the United States’ obligations to protect refugees and asylum seek-

24   ers under international law, the final Rule states only that because it does not affect withholding

25   of removal or CAT protection, it is consistent with international law and, furthermore, that agree-

26   ments like the Universal Declaration of Human Rights are non-binding and do not impose legal

27   obligations on the United States. Again, however, this ignores the realities faced not only by im-

28   migration attorneys, but also by refugees and asylum seekers. As discussed above and in its public
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 1   comment, while withholding of removal may not be directly impacted by this Rule, the interplay

 2   between withholding of removal and the Rule’s sweeping categorical bars can easily lead to cruel

 3   results, like the separation of parents and children, which will have a particularly adverse impact

 4   on DSCS’s clients.

 5           21.     The added complexities posed by the new Rule—sections of which purport to allow

 6   immigration adjudicators to conduct their own subjective inquiries into conduct that may never

 7   have resulted in a conviction—will require the DSCS staff to review its current client list to deter-

 8   mine which of its current clients may be affected by the Rule; how the Rule might impact those
 9   cases; how to communicate that impact to those clients; and how to revise its legal strategy, if
10   DSCS could even continue representing those clients.
11           22.     In response to this Rule, DSCS has already begun to divert substantial time and
12   resources to train its staff and legal assistants on the changes to asylum eligibility, as well as to
13   undertake a review of all of its training materials and templates, to ensure their accuracy. Likewise,
14   DSCS staff has begun to spend more time providing consultations on the nuances of the Rule’s
15   eligibility requirements and expects to expend more time and resources on consultations in the
16   near future.
17           23.     Additionally, the Rule is forcing DSCS to divert resources away from other initia-
18   tives to compensate for the time and staffing resources required to respond to the rule. For exam-

19   ple, the DSCS team conducts significant advocacy work around conditions for detainees in ICE,

20   and also assists undocumented youth in applying for and renewing their DACA registration.

21   DSCS’s legal team also provides consultations and representation to participants in the organiza-

22   tion’s other programs, such as shelter residents and members of the organization’s worker’s col-

23   laborative. DSCS’s ability to continue supporting these communities will be significantly impeded

24   if it is forced to reallocate its already scarce resources in light of the new Rule.

25           24.     The Rule would also jeopardize DSCS’s funding and budget. In 2019, roughly

26   ninety-five percent of DSCS’s legal team’s funding was tied to state or local funding or grants

27   requiring some form of deliverable (e.g., a specific number of asylum applications filed or clients

28   represented). If permitted to take effect, the Rule would necessarily reduce the number of DSCS’s
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 1   clients eligible for asylum. Defending a client against even the existing criminal bars to asylum

 2   can require substantially more hours and resources as presenting a claim with no bars; because

 3   such a high percentage of our clients have had contact with the criminal justice system, the Rule

 4   would drastically increase the resources needed per case. The increased hours DSCS would be

 5   required to spend both assessing the impact of the Rule on its current clients and representing those

 6   impacted by the Rule would reduce the overall number of clients served. As a result, DSCS could

 7   not comply with existing funding conditions and would likely lose funding.

 8          25.     The relief requested in the Plaintiffs’ Complaint would properly address the injuries
 9   to DSCS described above and in the public comment submitted by DSCS in opposition to the Rule.
10   If Plaintiffs prevail in this action, DSCS would be able to devote its staff time and resources to
11   more clients than it would be able to if the Rule were permitted to take effect.
12          26.     DSCS is unaware of any way they can recover the increased costs that the Rule will
13   impose on them as an organization, and would suffer immediate and irreparable injury under the
14   Rule if the rule were permitted to take effect.
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 1          I declare under penalty of perjury under the laws of the United States of America that the

 2   foregoing is true and correct.

 3

 4          Dated: November 2, 2020

 5          San Francisco, CA

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 8                                                              Katherine Mahoney

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